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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 Sasha Pippenger et al.,
                                                           Civil Action No. 1:25-cv-01090
                        Plaintiffs,

        v.

 United States DOGE Service, et al.,

                        Defendants.



    PLAINTIFFS’ NOTICE OF WITHDRAWAL OF MOTION FOR TEMPORARY
                    RESTRAINING ORDER (ECF NO. 8)

       On April 11, 2025, Plaintiffs filed a Complaint (ECF Nos. 1 &2) and Motion for Temporary

Restraining Order (ECF No. 8). On April 14, 2025, Plaintiffs filed an Amended Complaint (ECF

No. 9) and will imminently be filing an Amended Motion for Temporary Restraining Order based

on that amended complaint. Plaintiffs accordingly submit this notice stating their intent to

withdraw their previously filed Motion for Temporary Restraining Order (ECF No. 8), which will

be replaced by an amended motion.


Dated: April 14, 2025


 EMERY CELLI BRINCKERHOFF                   ALI & LOCKWOOD LLP
 ABADY WARD & MAAZEL LLP

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